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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

 FRANK E GABLE,
                                                       Case No. 3:07-cv-00413-AC
                               Petitioner,
                                                       NOTICE OF CROSS-APPEAL
                        v.

 MAX WILLIAMS,

                               Respondent.

       Notice is hereby given that Petitioner Frank E. Gable hereby cross-appeals to the United

States Court of Appeals for the Ninth Circuit from the Judgment entered on April 18, 2019, by the

Honorable John V. Acosta, which granted in part, and denied in part, Petitioner’s petition for writ

of habeas corpus.

       Respectfully submitted on May 20, 2019.

                                             /s/ Nell Brown
                                             Nell Brown, Assistant Federal Public Defender

                                             /s/ Mark Ahlemeyer
                                             Mark Ahlemeyer, Assistant Federal Public Defender
                                             Attorneys for Petitioner




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